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               TO: (Step}                 1.&
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                                            Section supervisor/Inma te Grievance Specialist
                                            Appeal Branch/Core Program Administrator/In mate Grievance Specialist
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               STATEMENT OF COMPLAINT/ GRIEVANCE:
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               INfVIATE SIGNATURE                                                                                                                          DATE

               RESOLUTION: (Do Not Write In This Space. OFFICIAL USE ONLY)
t On J uly 28, 2017 you were transferred f rom WCF ta HCF. Your property was inventoried on
  Jul:;i: 2~.' £017. Attached is a copy of COR.17.02 Personal Property of Imnates. It outlines
  what property is allowed to be transfe:r;red ,b.;t;,e~n c~rrectional facilities.' Commissary i.s
                                                                                                                     :~         ~
        not liated.  Intake ACO F. Foumai made contact with Piilani Borges who is ou your approved
        visit list on 08-01-17 and informed h!?rtha t your property is available to be picked up.
~~M~Sfo~~~~~1-o~~~o-rol'lin~r:'. ·. ai:-ni;r;·- ~1:~:·~t 's\.~·;:;i:~~t111~..:~he." is2 nar~o,:~,~~?;~,.:_-:;c::::-;,:'
   · fly to Oahu to pick 'up your commissary. , Your property/coUl lllissary is currently stored j_I).
                                                                                                                                                                                                                                                   '
     WCF Intak~ with. a deadltne to picktl~ o Se~~emher 01, 2017. You will need to m11ke alternate


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                SIGNATU><E0~\PONDENT                                          :
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               Appeals must be filed within five (5) calendar days upon rece~~· Signed & dated RO As must be retu'med.
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 \ , INMATE ACKNOWLEDGED RESPONSE
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               WHITE/File                   CANARY/Inmate Answer                                     PiNKIRespondeni                       - -GoLl:JiJnmate Receipt '·                        ·::.:-: pgl): gz;\5-(rev, W(~O l~) --
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